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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

 JANE FALK,                                   )
 ALEXIS YOUNG,                                )
                                              )
                          Plaintiffs,         )
                                              )
                     v.                       )   No. 1:20-cv-01715-JPH-TAB
                                              )
 SKY TRANSPORTATION LLC,                      )
 ROMAN GENOV,                                 )
                                              )
                          Defendants.         )

                                        ORDER

       Plaintiffs have notified the Court that they have accepted Defendants'

 offer of judgment under Federal Rule of Civil Procedure 68. Defendants' motion

 to consolidate cases, dkt. [27], and Plaintiffs' motion for leave to amend their

 complaint, dkt. [30] are therefore DENIED as moot. The clerk shall also

 docket this order in 1:20-cv-3225-TWP-MPB.

       Final judgment shall issue by separate entry.

 SO ORDERED.

 Date: 3/24/2021




 Distribution:

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